
Filed 4/14/14 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2014 ND 75







State of North Dakota, 		Plaintiff and Appellee



v.



John Thrasher, Jr., 		Defendant and Appellant







No. 20130285







Appeal from the District Court of Morton County, South Central Judicial District, the Honorable Gail Hagerty, Judge.



AFFIRMED.



Per Curiam.



Brian D. Grosinger, Assistant State’s Attorney, 210 2nd Avenue NW, Mandan, ND 58554, for plaintiff and appellee; submitted on brief.



Russell J. Myhre, 341 Central Avenue North, Suite 3, P.O. Box 475, Valley City, ND 58072, for defendant and appellant; submitted on brief.

State v. Thrasher

No. 20130285



Per Curiam.

[¶1]	John Thrasher, Jr., appeals from a district court judgment following a jury verdict finding him guilty of possession of drug paraphernalia in violation of N.D.C.C. §&nbsp;19-03.4-03. &nbsp;On appeal, Thrasher argues there was insufficient evidence to sustain the verdict. &nbsp;We summarily affirm the district court judgment under N.D.R.App.P. 35.1(a)(3).

[¶2]	Gerald W. VandeWalle, C.J.

Carol Ronning Kapsner

Lisa Fair McEvers

Daniel J. Crothers

Daniel D. Narum, D.J.





[¶3]	The Honorable Daniel D. Narum, D.J., sitting in place of Sandstrom, J., disqualified.

